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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

                                                    )
 UNITED STATES OF AMERICA,                          )
                                                    )
                                                    )
                        v.                          ) Case No. 1:21-cr-138-JEB
                                                    )
 AARON MOSTOFSKY,                                   )
                                                    )
        Defendant.                                  )
                                                    )

 DEFENDANT MOSTOFSKY’S UNOPPOSED MOTION FOR EXTENSION OF TIME
         TO RESPOND TO GOVERNMENT’S MOTIONS IN LIMINE

       Defendant Mostofsky, through counsel, moves the Court for an extension of time to

respond to three motions in limine filed by the government. ECF Nos. 82, 83, 84, 89.

       On December 21, the Court set a January 14, 2022 deadline for Mostofsky’s responses.

Mostofsky requests that the Court extend the deadline to January 24. The government does not

oppose this relief but requests that the Court also extend the deadline for the government’s reply

briefs to February 4. Mostofsky does not oppose that request. The extension of time may allow

the parties to avoid unnecessary motion practice.

Dated: January 13, 2022                              Respectfully submitted,


                                                     /s/ David B. Smith
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                                                    Counsel to Aaron Mostofsky
                                     Certificate of Service
       I hereby certify that on the 13th day of January, 2022, I filed the foregoing document with

the Clerk of Court using the CM/ECF system, which will send a notification of such filing (NEF)

to the following CM/ECF user(s):


              Graciela Lindberg
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       And I hereby certify that I have mailed the document by United States mail, first class

postage prepaid, to the following non-CM/ECF participant(s), addressed as follows: [none].


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